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                                   1                                    UNITED STATES DISTRICT COURT

                                   2                                   NORTHERN DISTRICT OF CALIFORNIA

                                   3                                          SAN JOSE DIVISION

                                   4
                                         ISAAC JACOBSON,
                                   5                                                         Case No. 5:21-cv-08092-EJD
                                                          Plaintiff,
                                   6                                                         ORDER TO SHOW CAUSE RE
                                                     v.                                      SETTLEMENT
                                   7
                                         FUTURE MOTION, INC.,                                Re: ECF No. 28
                                   8
                                                          Defendant.
                                   9

                                  10          The parties, having filed a Notice of Settlement on July 7, 2022 (see ECF No. 28), are

                                  11   ordered to appear before the Honorable Edward J. Davila on September 29, 2022, at 10:00 AM

                                  12   in Courtroom No. 4, 5th Floor, United States District Court, 280 South First Street, San Jose,
Northern District of California
 United States District Court




                                  13   California, 95113, to show cause why the case should not be dismissed pursuant to Federal Rule

                                  14   of Civil Procedure 41(b). On or before September 19, 2022, the parties shall file a joint

                                  15   statement in response to the Order to Show Cause setting forth the status of settlement efforts as

                                  16   well as the amount of additional time necessary to finalize and file a dismissal.

                                  17          The Order to Show Cause shall be automatically vacated and the parties relieved of the

                                  18   obligation to file a joint statement if a stipulated dismissal pursuant to Federal Rule of Civil

                                  19   Procedure 41(a) is filed on or before September 19, 2022.

                                  20          All other pretrial deadlines and hearing dates are VACATED and any pending motions are

                                  21   TERMINATED.

                                  22          Failure to comply with any part of this Order will be deemed sufficient grounds to dismiss

                                  23   the action.

                                  24           IT IS SO ORDERED.

                                  25   Dated: July 8, 2022                                   ____________________________________
                                                                                         EDWARD J. DAVILA
                                  26                                                     United States District Judge
                                  27

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                                       Case No.: 5:21-cv-08092-EJD
                                       ORDER TO SHOW CAUSE RE SETTLEMENT
